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                 4                               UNITED STATES DISTRICT COURT
                 5                                      DISTRICT OF NEVADA
                 6                                                 ***
                 7    UNITED STATES OF AMERICA,                           Case No. 2:19-CR-269 JCM (EJY)
                 8                                        Plaintiff(s),                    ORDER
                 9           v.
               10     LESEAN ROGER DENNIS BRADDOCK, JR.,
               11                                       Defendant(s).
               12
               13            Presently before the court is defendant Lesean Braddock’s motion in limine to
               14     exclude character evidence. (ECF No. 89). The government responded. (ECF No. 93). The
               15     time for Braddock to reply has passed.
               16            This case involves three armed robberies in the Las Vegas valley. Braddock and co-
               17     defendant Byron Porter were indicted in October 2019 on seven counts including conspiracy
               18     to commit interference with commerce by robbery, interference with commerce by robbery,
               19     and brandishing of a firearm during and in relation to a crime of violence. (ECF No. 1).
               20            The government filed a notice of its intent to admit evidence of Braddock’s prior
               21     robberies pursuant to Rules 403 and 404(b) of the Federal Rules of Evidence to prove his
               22     intent, preparation, plan, knowledge, identity, and modus operandi for the charged armed
               23     robberies. (ECF No. 84).
               24            In response to Braddock’s motion in limine, the government stated it currently “does
               25     not intend to present evidence at trial of prior robberies committed by Braddock” but
               26     reserves its right to do so if it obtains additional information. (ECF No. 93 at 2). The
               27     government filed its notice to merely preserve its right to present such evidence given the
               28     then-trial date of November 16, 2020, and the court’s order to disclose its intent to introduce

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                1     Rule 404(b) evidence 21 days prior to trial. (ECF No. 69). The trial date in this case is now
                2     set for February 22, 2021, and the government is expected to comply with local rules.
                3            Accordingly,
                4            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant’s motion
                5     in limine to exclude character evidence (ECF No. 89) be, and the same hereby, is DENIED
                6     without prejudice.
                7            DATED December 30, 2020.
                8                                               __________________________________________
                                                                UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                               -2-
